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      4

      5
          Attorney for Defendant
          NADIA TALYBOV
      6
                                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
      7

      8

      9   UNITED STATES OF AMERICA,                       ) No. 2:12-CR-003 JAM
                                                          )
                                                          )
     10          Plaintiff,                               ) WAIVER OF DEFENDANT’S
     11
                                                          ) APPEARANCE
          v.                                              )
                                                          )
     12
          NADIA TALYBOV,                                  )
                                                          )
     13
                                                          )
                 Defendant.                               )
     14
                                                          )
                                                          )
     15
                                                          )
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     17          Defendant, NADIA TALYBOV, hereby waives the right to be present in person in open
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          court upon the hearing of any motion or other pre-trial proceeding in this case, including, but not
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          limited to, when the case is ordered set for trial, when a continuance is ordered, and when any
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          other action is taken by the court before or after hearing, except upon arraignment, plea,
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     22   impanelment of a jury, trial and imposition of sentence pursuant to Federal Rule of Criminal

     23   Procedure 43(b)(3).
     24
                 Defendant, NADIA TALYBOV, hereby requests the court to proceed during every
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          absence of her which the court may permit pursuant to this waiver; agrees that her interests will
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          be deemed represented at all times by the presence of her attorney, the same as if defendant were
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          personally present and further agrees to be present in court, ready for any hearing any day and
      1

      2   hour the court may set in her absence.

      3          Defendant, NADIA TALYBOV, further acknowledges that she has been informed of her
      4
          rights under Title 18 U.S.C. Sections 3164-3174 (Speedy Trial Act), and authorizes her attorney,
      5
          to set times and delays under the Act without defendant, NADIA TALYBOV, being present and
      6

      7
          agrees to waive any and all time under both the federal constitution and the Speedy Trial Act

      8   regarding her rights to a speedy and public jury trial.
      9   Dated: 2/27/2012                               /s/ Ms. Nadia Talybov
     10
                                                         _________________________
                                                         Ms. Nadia Talybov
     11
          Approved as to form                            /s/ Toni Carbone
     12
          Dated: 2/27/2012                               ____________________________
     13                                                  Toni Carbone
                                                         Counsel for Ms. Talybov
     14

     15

     16   IT IS SO ORDERED:

     17   DATED: 2/27/2012                                      /s/ John A. Mendez_____________
                                                                U. S. District Court Judge
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